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                                       NOTE CHANGES RE OBJECTIONS
   1                                   IN SECTIONS 5 AND 9
   2
   3
   4                                                       February 1, 2018

   5                                                           VPC
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   7
   8                       UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
  10                              WESTERN DIVISION
  11
  12   LISA DOYLE, DERIVATIVELY AND           Case No. 15-cv-07568-SJO (MRWx)
       ON BEHALF OF RESONANT INC.,
  13                                          Hon. S. James Otero
                  Plaintiff,
  14
                  v.
  15                                          ORDER PRELIMINARILY
                                              APPROVING DERIVATIVE
  16   TERRY LINGREN, et al.,                 SETTLEMENT AND PROVIDING
                                              FOR NOTICE
  17                     Defendants,
  18                     and
  19   RESONANT INC.,
  20              Nominal Defendant.
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                                                              PRELIMINARY APPROVAL ORDER
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   1         WHEREAS, the parties to the above-captioned shareholder derivative action
   2   (the “Action”) have made an application, pursuant to Federal Rule of Civil Procedure
   3   23.1, for an order: (i) preliminarily approving the Stipulation and Agreement of
   4   Settlement dated December 14, 2017 (the “Stipulation”), which, together with the
   5   exhibits annexed thereto, sets forth the terms and conditions for the proposed
   6   settlement and dismissal of the Action with prejudice; and (ii) approving the form
   7   and content of the Notice to Current Resonant Stockholders (the “Notice”);
   8         WHEREAS, all capitalized terms contained herein shall have the same
   9   meanings as set forth in the Stipulation (unless otherwise defined herein); and
  10         WHEREAS, the Court has read and considered the Stipulation and the exhibits
  11   annexed thereto, and all Settling Parties have consented to the entry of this
  12   Preliminary Approval Order;
  13         NOW THEREFORE, IT IS HEREBY ORDERED:
  14         1.     The Court has jurisdiction over the subject matter of this Action, the
  15   Settlement, and over the Parties to the Stipulation.
  16         2.     The Court preliminarily finds that the proposed Settlement should be
  17   approved as being fair, reasonable, adequate, and in the best interests of Resonant
  18   and its shareholders.
  19         3.     In connection with preliminary approval of the proposed Settlement, the
  20   Court preliminarily finds, for purposes of the Settlement only, that the Action was
  21   properly brought pursuant to Federal Rule of Civil Procedure 23.1 as a shareholder
  22   derivative action on behalf of Resonant, and that Plaintiff fairly and adequately
  23   represents the interests of Resonant shareholders in enforcing the rights of Resonant.
  24         4.     A    hearing    (the   “Settlement    Hearing”)    shall    be   held    on
  25   0RQGD\$SULO, 2018 at  D.m., before the Honorable S. James Otero, at the
  26   United States District Court for the Central District of California, 350 West 1st
  27   Street, Courtroom 10C, Los Angeles, California 90012, to determine: (i) whether
  28   the terms and conditions of the Settlement set forth in the Stipulation are
                                                                      PRELIMINARY APPROVAL ORDER
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       fair, reasonable, and adequate to Resonant and Current Resonant Stockholders and
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       should be finally approved by the Court; (ii) whether a Judgment finally approving
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       the Settlement, substantially in the form of Exhibit D attached to the Stipulation,
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       should be entered, dismissing the Action with prejudice and releasing and enjoining
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       the prosecution of any and all Released Claims; and (iii) whether Plaintiff’s
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       Counsel’s Fee Award, including any Service Award, should be finally approved. At
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       the Settlement Hearing, the Court may hear or consider such other matters as the
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       Court may deem necessary and appropriate.
   8         5.    The Court approves, as to form and content, the Notice attached as
   9   Exhibit B to the StipulatioQZLWK DOWHUDWLRQV WR UHIOHFW WKH &RXUW V GHVLUH WKDW
  10   REMHFWLRQV EH VHUYHG RQ &RXQVHO ZKR DUH LQ WXUQ UHVSRQVLEOH IRU HQVXULQJ WKDW
  11   FRSLHV DUH SURYLGHG WR WKH &RXUW VHH 6HFWLRQ  EHORZ and finds that the
  12   posting of such Notice substantially in the manner and form set forth in this
  13   Order meets the requirements of Federal Rule of Civil Procedure 23.1 and due
  14   process, is the best notice practicable under the circumstances, and shall
  15   constitute due and sufficient notice to Current Resonant Stockholders and all other
  16   Persons entitled thereto.
  17          6.     Not later than fourteen (14) calendar days following entry of this
  18   Order, Resonant shall provide notice of the proposed Settlement to Current
  19   Resonant Stockholders by causing a Current Report on Form 8-K to be filed with
  20   the SEC substantially in the form of the Notice. Resonant and/or its insurer(s) shall
  21   bear all costs relating to promulgating notice in the manner set forth above.
  22          7.    At least ten (10) days prior to the Settlement Hearing, counsel for
  23   Resonant shall file proof of publication of the Notice as set forth in Paragraph 6
  24   above.
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       8.      All papers in support of the Settlement and the Fee Award, including
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       any Service Awards, shall be filed with the Court and served at least twenty-eight
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          GD\V SULRU WR WKH 6HWWOHPHQW +HDULQJ DQG DQ\ UHSO\ SDSHUV VKDOO EH ILOHG ZLWK
  28
       WKH&RXUWDWOHDVWVHYHQ  GD\VSULRUWRWKH6HWWOHPHQW+HDULQJ
                                                 -2-                   PRELIMINARY APPROVAL ORDER
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   1             $Q\&XUUHQW5HVRQDQW6WRFNKROGHUPD\REMHFWDQGRUDSSHDUDQGVKRZ
   2   FDXVH LI KH VKH RU LW KDV DQ\ FRQFHUQ ZK\ WKH 6HWWOHPHQW VKRXOG QRW EH ILQDOO\
   3   approved as fair, reasonable, and adequate, why the Judgment should not be entered
   4   thereon, or why the Fee Award, including any Service Awards, should not be finally
   5   approved; provided, however, unless otherwise ordered by the Court, that no Current
   6   Resonant Stockholder shall be heard or entitled to contest the approval of the terms
   7   and conditions of the Settlement, or, if approved, the Judgment to be entered thereon
   8   approving the same, or the Fee Award, unless that stockholder VXEPLWV: (1) a
   9   written objection to the Settlement setting forth: (a) clearly indicating that
  10   objector’s name, mailing address, daytime telephone number, and e-mail address
  11   (if any); (b) stating that the objector is objecting to the proposed Settlement or
  12   awards of attorneys’ fees and expenses in Doyle v. Lingren, et al., 15-cv-07568-
  13   SJO (MRWx) (C.D. Cal.); (c) specifying the reason(s), if any, for each such
  14   objection made, including any legal support and/or evidence that such objector
  15   wishes to bring to the Court’s attention or introduce in support of such objection;
  16   and (d) identifying and supplying documentation showing (i) how many shares of
  17   Resonant common stock the objector owned as of December 14, 2017, (ii) when
  18   the objector purchased or otherwise acquired such shares, and (iii) whether the
  19   objector still owns any such Resonant shares; and (2) if a Current Resonant
  20   Stockholder intends to appear and requests to be heard at the Settlement Hearing,
  21   such stockholder must VXEPLW, in addition to the requirements of (1) above: (a) a
  22   written notice of such stockholder’s intention to appear at the Settlement Hearing;
  23   (b)a statement that indicates the basis for such appearance; and (c) the identities
  24   of any witnesses the stockholder intends to call at the Settlement Hearing and a
  25   statement as to the subjects of their testimony. If a Current Resonant Stockholder
  26   ZLVKHV WR VXEPLW a written objection and/or written notice of intent to appear, such
  27   stockholder must DW OHDVW WZHQW\RQH   GD\V SULRU WR WKH 6HWWOHPHQW +HDULQJ
  28   serve copies of such notice, proof, statement, and documentation, together
                                                    -3-                     PRELIMINARY APPROVAL ORDER
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       ZLWKFRSLHVRIDQ\RWKHUSDSHUVRUEULHIVXSRQHDFKRIWKHIROORZLQJHLWKHUE\ILUVW
   1
       FODVVPDLORUKDQGGHOLYHU\
   2                                            Laurence Rosen
               Counsel for Plaintiff:
   3                                            The Rosen Law Firm, P.A.
                                                355 South Grand Avenue, Suite 2450
   4                                            Los Angeles, CA 90071

   5                                            James N. Kramer
           Counsel for Defendants:
   6                                            Orrick, Herrington & Sutcliffe LLP
                                                The Orrick Building
   7                                            405 Howard Street
                                                San Francisco, CA 94105
   8
       3ODLQWLII V FRXQVHO VKDOO EH UHVSRQVLEOH IRU HQVXULQJ WKDW FRSLHV RI DOO 5HVRQDQW
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       VWRFNKROGHUVXEPLVVLRQVDUHSURYLGHGWRWKH&RXUWLQFRQMXQFWLRQZLWKWKHLUPRWLRQ
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       IRU ILQDO DSSURYDO  Any objector who does not timely file and serve a notice of
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       intention to appear in accordance with this paragraph shall not be permitted to
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       appear at the Settlement Hearing, except for good cause shown.
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             10.     Any Current Resonant Stockholder who does not make his, her, or its
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       objection in the manner provided herein shall be deemed to have waived such
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       objection and shall forever be foreclosed from making any objection to the fairness,
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       reasonableness, or adequacy of the Settlement or the Fee Award, including any
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       Service Awards, as set forth in the Stipulation, unless otherwise ordered by the Court,
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       but shall be forever bound by the Judgment to be entered, the dismissal of the
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       Action with prejudice, and any and all of the releases set forth in the Stipulation.
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             11.     Defendants’ Counsel and Plaintiff’s Counsel shall promptly furnish
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       each other with copies of any and all objections and notices of intention to appear
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       that come into their possession.
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             12.     All Current Resonant Stockholders shall be bound by all orders,
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       determinations, and judgments in the Action concerning the Settlement, whether
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       favorable or unfavorable to Current Resonant Stockholders.
  26
              13.    Pending final determination of whether the Settlement should be
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       approved, neither Plaintiff, Plaintiff’s Counsel, nor any Current Resonant
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       Stockholders or other Persons shall commence or prosecute, or in any way instigate
                                                                         PRELIMINARY APPROVAL ORDER
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   1   or participate in the commencement or prosecution of, any action or proceeding
   2   asserting any Released Claims against any of the Individual Defendants, Resonant,
   3   or any other Released Person, in any court or tribunal.
   4         14.    The fact and terms of the Stipulation, including any exhibits attached
   5   thereto, all proceedings in connection with the Settlement, and any act performed or
   6   document executed pursuant to or in furtherance of the Stipulation or the Settlement:
   7         (a)    shall not be offered, received, or used in any way against the Settling
   8   Parties as evidence of, or be deemed to be evidence of, a presumption, concession,
   9   or admission by any of the Settling Parties with respect to the truth of any fact alleged
  10   by Plaintiff or the validity, or lack thereof, of any claim that has been or could have
  11   been asserted in the Action or in any litigation, or the deficiency or infirmity of any
  12   defense that has been or could have been asserted in the Action or in any litigation,
  13   or of any fault, wrongdoing, negligence, or liability of any of the Released Persons;
  14         (b)    shall not be offered, received, or used in any way against any of the
  15   Released Persons as evidence of, or be deemed to be evidence of, a presumption,
  16   concession, or admission of any fault, misrepresentation or omission with respect to
  17   any statement or written document approved, issued, or made by any Released
  18   Person, or against Plaintiff as evidence of any infirmity in her claims; or
  19         (c)    shall not be offered, received, or used in any way against any of the
  20   Released Persons as evidence of, or be deemed to be evidence of, a presumption,
  21   concession, or admission of any liability, fault, negligence, omission or wrongdoing,
  22   or in any way referred to for any other reason as against the Released Persons, in any
  23   arbitration proceeding or other civil, criminal, or administrative action or proceeding
  24   in any court, administrative agency, or other tribunal. Neither the Stipulation nor the
  25   Settlement, nor any act performed or document executed pursuant to or in furtherance
  26   thereof, shall be admissible in any proceeding for any purpose, except to enforce the
  27   terms of the Settlement; provided, however, that if finally approved, the Released
  28   Persons may refer to the Settlement, and file the Stipulation and/or the Judgment, in
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   1   any action that may be brought against them to effectuate the liability protections
   2   granted them thereunder, including, without limitation, to support a defense or claim
   3   based on principles of res judicata, collateral estoppel, full faith and credit, release,
   4   standing, good faith settlement, judgment bar or reduction or any other theory of
   5   claim preclusion or issue preclusion or similar defense or claim under U.S. federal or
   6   state law or foreign law.
   7         15.    If the Stipulation is terminated pursuant to its terms, or the Effective
   8   Date does not otherwise occur, all proceedings in the Action will revert to their status
   9   as of the date immediately preceding the date of the Stipulation.
  10         16.    The Court reserves the right to adjourn the date of the Settlement
  11   Hearing or modify any other dates set forth herein without further notice to Current
  12   Resonant Stockholders, and retains jurisdiction to consider all further applications
  13   arising out of or connected with the Settlement. The Court may approve the
  14   Settlement and any of its terms, with such modifications as may be agreed to by the
  15   Settling Parties, if appropriate, without further notice to Current Resonant
  16   Stockholders.
  17         IT IS SO ORDERED.
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  19           2/1/18
       DATED:____                              _________________________
  20                                           HON. S. JAMES OTERO
  21                                           UNITED STATES DISTRICT JUDGE

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